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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE 0 Bench Filed

26 /gz

Chapter 11
In re;

Case No. 01-01139 (JIKF)
W.R. GRACE & CO., et al., (Jointly Administered)

Debtors, Hearing Date:

{ Ref: Docket No. 1981

 

ORDER APPROVING ZAI CLAIMANTS?’ REVISED SPECIAL COUNSEL
DESIGNATION AND LITIGATION BUDGET FOR THE ZAI SCIENCE TRIAL

 

Upon consideration of the ZAI Claimant’ Revised Special Counsel] Designation
and Litigation Budget for the ZAT Science Trial, and upon the hearings held on July 22, 2002
and August 26, 2002, regarding the same; and sufficient cause appearing therefore;
IT IS HEREBY ORDERED THAT:
1. The ZA] Claimants’ Revised Special Counsel Designation and Litigation
Budget for the ZAT Science Trial are hereby approved.
2. This Court shal] retain jurisdiction to interpret, implement and enforce the

terms and provisions of this Order.

he , 2002

Wilmington, Delaware

The Honorable (idith K. Fitzgerald
United States Bankruptcy Court Judge

 
